Case 2:05-cV-02349-dkv Document 5 Filed 08/18/05 Page 1 of 5 Page|D 11

FII.ED BY _,_ D.C.

IN THE UNITED sTATEs DISTRICT coURT
FOR THE WESTERN DIsTRICT oF TENNESSEE 05 AUG '3 P" ‘*= 93
WESTERN DIvlsIoN

 

THOMAS M. GOULD
CUEU U.S. DZSTHCT COUT

AZMAN ENTERPRISES, INC., et al., )
)
)
Plaintiffs, )
)

v. ) No. 2:050v2349-D/V
)
CONOCOPH[LLIPS COMPANY, )
)
)
)
Defendant. )

 

RULE 16b SCHEDULING ORDER

 

Pursuant to a Written notice a scheduling conference Was scheduled for
August 25, 2005. Participating in the drafting of this order Were Michael Richards,
counsel for Plaintiff, Baker, Donelson, Bearman, Caldwell & Berkowitz, First
Tennessee Building, 165 Madison Avenue, Suite 2000, Memphis, Tennessee
38103 and Buffey Klein, counsel for Defendant, Husch & Eppenberger, 200
Jefferson Avenue, Suite 1450, Mernphis, Tennessee 38103. At the conference, the
following dates were established as final dates for:

1. Initial disclosures Pursuant to Rule 26(A)(1) of the Federal Rules Of

Civil Procedure are due September 9, 2005 .

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2790733-000001 03/16/05 with sale se and/or rs(a) FHCP on ' 9'

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Case 2:05-cV-02349-dkv Document 5 Filed 08/18/05 Page 2 of 5 Page|D 12

2. The deadline for joining parties and amending pleadings is October
25, 2005.

3. The deadline for filing initial motions to dismiss is Novernber 25,
2005.

4. The deadline for completing all discovery is March/Z‘,§ZOO&

5. All documents Will be produced by January 25, 2006.

6. All depositions, interrogatories and requests for admissions must be
taken or answered by the discovery cut off ofMarch 25, 2006.

7. Expert witnesses disclosures Rule 26 expert information will be
disclosed by January 25, 2006.

8. Defendant's Rule 26 expert information Wili be disclosed by February
25 , 2006.

9. Expert witnesses depositions will be completed by March 25, 2006.

10. Dispositive motions will be filed before May 25, 2006.

Other Relevant Matters:

ll. No depositions may be Scheduled to occur after the discovery cutoff
date. All motions, requests for admissions, or other filings that require a response
must be filed sufficiently in advance of the discovery cutoff date to enable

opposing counsel to respond by the time permitted by the rules prior to that date.

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2790733-000001 08/|6/05

Case 2:05-cV-02349-dkv Document 5 Filed 08/18/05 Page 3 of 5 Page|D 13

12. Motions to compel discovery are to be filed and served by the
discovery deadline or within thirty (30) days of the default or the service of the
response, answer, or objection, Which is the subject of the motion, if the default
occurs within thirty (30) days of the discovery deadline, unless the time for filing
of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

13. This case is set for a non»jury trial, and the trial is expected to last two
(2) days. The pretrial order date, pretrial conference date, and trial date will be set
by the presiding judge.

l4. The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all
motions, except motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be
accompanied by a proposed order.

15. The opposing party may file a response to any motion filed in this
matter. Neither party may file an additional reply, however, without leave of the
court. If a party believes that a reply is necessary, it shall file a motion for leave to
file a reply accompanied by a memorandum setting forth the reasons for which a
reply is required.

16. The parties have consented to trial before the magistrate judge.

M WMR 896656 vl
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Case 2:05-cV-02349-dkv Document 5 Filed 08/18/05 Page 4 of 5 Page|D 14

17. This order has been entered

after consultation With trial counsel

pursuant to notice. Absent good cause shown, the scheduling dates set by this

order will not be modified or extended

IT IS SO ORDERED.

OF COUNSEL:

 

Buffey Klein, Esq.

Husch & Eppenberger

200 Jefferson Avenue

Suite 1450

Memphis, Tennessee 38103
Attorney for Defendant

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DIANE K. vEsCovo
UNITED srATEs MAGISTRATE
JUDGE

 

DATE: d;uq/wl‘ /7/ ”7”\5 ;
/

 

Michael Richards (#7973)

Baker, Donelson, Bearman & Caldwell, P.C.

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(901) 526-2000

Attomey for Plaintiffs

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02349 was distributed by fax, mail, or direct printing on

August 19, 2005 to the parties listed.

 

W. Michael Richards

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Honorable Bernice Donald
US DISTRICT COURT

